          Case 1:21-cv-00693-AT Document 1 Filed 02/17/21 Page 1 of 6




                    IN THE UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

 TPN PROPERTIES, LLC,

       Plaintiff,

 v.                                            Civil Action File No. ______________

 HOME-OWNERS INSURANCE
 COMPANY,

       Defendant.

                             NOTICE OF REMOVAL

      COMES NOW HOME-OWNERS INSURANCE COMPANY, Defendant in

the above-styled action, and within the time prescribed by law, files this Notice of

Removal and respectfully shows this Honorable Court the following:

                                          1.

      Plaintiff TPN Properties, LLC has filed suit against Defendant Home-

Owners Insurance Company (“Home-Owners”) in the State Court of Fulton

County, Georgia, which is in the Atlanta Division of the Northern District of

Georgia. The suit is styled as above and numbered Civil Action File No.

21EV000249 in that court. This suit is for a sum in excess of $75,000.00, or the

object of this suit exceeds said sum, exclusive of interest and costs.
          Case 1:21-cv-00693-AT Document 1 Filed 02/17/21 Page 2 of 6




                                           2.

      Plaintiff TPN Properties, LLC is a domestic limited liability company

organized and existing under the laws of the state of Georgia with its principal

place of business in the state of Georgia, is a citizen of the state of Georgia, and

was a citizen of the state of Georgia on the date of the filing of the aforesaid civil

action and has been thereafter.

                                           3.

      The sole member of Plaintiff TPN Properties, LLC is now the Estate of

Thomas R. Nicholson Sr., who passed away in February of 2018 while a citizen

and domiciliary of the state of Georgia and while he was the sole member of

Plaintiff. The Estate of Thomas R. Nicholson Sr. is formed under the laws of the

state of Georgia, with probate filed in Henry County, Georgia, and therefore is also

a citizen and domiciliary of the state of Georgia. At the time of his death, Thomas

R. Nicholson Sr. was a resident and domiciliary of Henry County, Georgia, and he

had the intention to remain in Georgia and call Georgia his home. See, e.g., King v.

Cessna Aircraft Co., 505 F.3d 1160, 1170 (11th Cir. 2007) (“Where an estate is a

party, the citizenship that counts for diversity purposes is that of the decedent, and

she is deemed to be a citizen of the state in which she was domiciled at the time of

her death.”). Moreover, the Estate is a legal creation established under the laws of
                                         -2-
           Case 1:21-cv-00693-AT Document 1 Filed 02/17/21 Page 3 of 6




the state of Georgia and established following Thomas R. Nicholson Sr.’s death.

Thus, the sole member of Plaintiff is a citizen and domiciliary of the state of

Georgia.

                                           4.

      Defendant Home-Owners is a corporation organized and existing under the

laws of the state of Michigan with its principal place of business in the state of

Michigan, is a citizen of the state of Michigan, and was a citizen of the state of

Michigan on the date of the filing of the aforesaid civil action and has been

thereafter. Home-Owners is not a citizen of the state of Georgia and was not a

citizen of the state of Georgia on the date of the filing of the aforesaid civil action

and has not been thereafter.

                                           5.

      The amount in controversy exceeds the sum of $75,000.00 exclusive of

interest and costs.

                                           6.

      The aforementioned suit is a civil action over which this Court has original

jurisdiction under the provisions of Title 28 of the United States Code, § 1332, and,

accordingly, is one which may be removed to this Court by Defendant pursuant to

the provisions of Title 28 of the United States Code, § 1441, in that it is a civil
                                         -3-
          Case 1:21-cv-00693-AT Document 1 Filed 02/17/21 Page 4 of 6




action in which the matter in controversy exceeds the sum of $75,000.00, exclusive

of interest and costs, and is between citizens of different states. Accordingly,

removal to this Court is proper.

                                          7.

      Defendant shows that suit was instituted on January 12, 2021 in the State

Court of Fulton County, and Defendant was served with the summons and

complaint on January 19, 2021. Defendant further shows that this Notice of

Removal is filed within thirty (30) days of the date of service upon Defendant or

other notice.

                                          8.

      Defendant has attached hereto copies of all process, pleadings, and orders

served upon it in this case, such copies being marked collectively as Exhibit A.

                                          9.

      Defendant has given written notice of the filing of this Notice of Removal to

Plaintiff, a copy of said Notice of Filing Removal is attached hereto as Exhibit

“B”. Defendant has filed a written notice with the Clerk of the State Court of

Fulton County, State of Georgia, a copy of said notice being attached hereto as

Exhibit “C” and made part hereof.


                                         -4-
         Case 1:21-cv-00693-AT Document 1 Filed 02/17/21 Page 5 of 6




      WHEREFORE, Defendant prays that this case be removed to the United

States District Court for the Northern District of Georgia, Atlanta Division.

      This 17th day of February, 2021.

                                       Respectfully submitted,

                                       KENDALL | MANDELL, LLC


                                       /s/ Michael C. Kendall
                                       Michael C. Kendall
                                       Georgia Bar No. 414030
                                       Michael C. Kendall, II
                                       Georgia Bar No. 510402
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                                         -5-
         Case 1:21-cv-00693-AT Document 1 Filed 02/17/21 Page 6 of 6




                    IN THE UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

TPN PROPERTIES, LLC,

       Plaintiff,

v.                                         Civil Action File No. ________

HOME-OWNERS INSURANCE
COMPANY,

       Defendant.

                         CERTIFICATE OF SERVICE
      I hereby certify that I have this day served or caused to be served a copy of

the within and foregoing NOTICE OF REMOVAL in this matter by

electronically filing the same with the Court via the CM/ECF system, and U.S.

Mail, postage prepaid to the following counsel of record:

Stephen V. Kern, Esq.                      John W. Clark, IV, Esq.
C. Joseph Hoffman, Esq.                    CLARK LAW FIRM, PC
KITCHENS KELLEY GAYNES, P.C.               The Landmark Center, Suite 600
Glenridge Highlands One, Suite 800         2100 First Avenue North
5555 Glenridge Connector                   Birmingham, Alabama 35203
Atlanta, Georgia 30342

      This 17th day of February, 2021.

                                       /s/ Michael C. Kendall
                                       Michael C. Kendall
